                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

       v.                                                     Cr. No. 19-401-WJ-KK-1

THOMAS ABEYTA,

               Defendant.


                            MEMORANDUM OPINION AND ORDER

       THIS MATTER is before the Court on the July 10, 2020 Order of Reference of Chief

United States District Judge William P. Johnson, designating the undersigned to conduct hearings,

if warranted, including evidentiary and Faretta hearings, see Faretta v. California, 422 U.S. 806

(1975), and to perform any legal analysis required to issue a written order determining: Defendant

Thomas Abeyta’s Unopposed Motion for Status Conference and for Faretta Hearing (Doc. 45),

filed April 1, 2020; whether Defendant intends to waive his right to counsel and assert the right to

represent himself; and, if so, whether he has done so in a constitutionally effective manner. (Doc.

62.) Pursuant to Defendant’s motion, the Court held a Faretta hearing on July 14, 2020. (Docs.

64, 65.) Based on that hearing, the record, and the relevant law, the Court FINDS that, at this time,

Defendant does not want to waive his right to counsel and assert the right to represent himself, nor

has he done so in a constitutionally effective manner. The Court further FINDS that Defendant

does not want new counsel to be appointed to represent him and has not shown good cause for new

counsel to be appointed. The Court will therefore decline to remove Gregory M. Acton as

Defendant’s counsel at this time.

                        I. Factual Background and Procedural History
        On January 29, 2019, the Government filed a Criminal Complaint against Defendant

Thomas Abeyta, charging him with aggravated sexual abuse in Indian Country in violation of 18

U.S.C. §§ 1153, 2241(a)(1), and 2246(2)(A). (Doc. 1.) At his initial appearance on that date, the

Court noted that the financial affidavit for the appointment of counsel with Defendant’s name at

the top was not filled out, and “Refusing Attorney” was written at the bottom. (Doc. 54 at 4.) The

Court therefore asked Defendant, “Is it your intention to refuse appointment of counsel even if

you’re eligible?” and Defendant answered “yeah.” (Id.) The Court then told Defendant that, if he

wanted to represent himself, the Court would have to hold a hearing to determine if he could

constitutionally do so. (Id.) The Court indicated that it would appoint counsel in the interim so

that Defendant would “have someone he can talk with” regarding “whether or not he wants to

persist in his idea of representing himself.” (Id. at 4-5.)

        At his preliminary hearing on January 30, 2019, Defendant’s court-appointed lawyer James

Loonam reported that Defendant had refused to have any “substantive conversation” with Mr.

Loonam about the case, other than to tell Mr. Loonam that he “did not sign up for representation.”

(Doc. 56 at 2.) After advising Defendant that he had the right to represent himself if he chose to

do so “in a knowing and voluntary way,” the Court had a fairly extensive dialogue with Defendant

about self-representation. (Id. at 3-13.)

        Defendant confirmed that he understood his right to a jury trial. (Id. at 5.) He said he

understood that there are rules and statutes that apply to his case, but he did not understand how

they are important. (Id. at 5-6.) He said he had never looked at the Federal Rules of Evidence or

the Federal Rules of Criminal Procedure. (Id. at 8.) He said he did not understand that if he

represented himself he might make a mistake an attorney would not make, but he would “look into

it.” (Id. at 6, 9-10.)



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         Defendant stated that he had never been diagnosed with a mental illness or brain injury,

that he had graduated from high school, and that he had never worked in a legal area or seen a

criminal trial. (Id. at 7-8.) He said it did not make sense to him why it would not be a good idea

for someone to think he knows how trials work based on television. (Id. at 8.)

         Defendant said he did not understand that an experienced attorney would represent the

Government in this case, but he did understand that an attorney could tell him about defenses he

might not know about. (Id. at 10.) He said he “somewhat” understood that, if he represented

himself and was convicted, he would not be able to claim on appeal that his attorney had made a

mistake. (Id. at 10-11.)

         Defendant said he “somewhat” understood that the decision to represent himself might be

a bad one even if it was knowing and voluntary. (Id. at 11-12.) However, he said he did not

understand that, if he represented himself, he would have to follow the rules about how to behave

in the courtroom, and only “[s]ome ways” understood that if he did not, the Court could force him

to have an attorney. (Id. at 12-13.)

         After this dialogue, the Court stated that it had concerns about Defendant’s competency

and ordered an evaluation. (Id. at 13-14.) The Court appointed Mr. Loonam as Defendant’s

“standby counsel,” which the Court explained is an attorney who does not run the defendant’s case

but is available to give the defendant advice if he asks for it or if the defendant is making a mistake.1

(Id. at 14.)

         On March 29, 2019, a notice was filed that on February 18, 2019, Defendant refused to

participate in a competency evaluation with a local psychologist. (Doc. 12.)



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 However, Mr. Loonam actually and necessarily functioned as Defendant’s full counsel throughout his tenure because
Defendant made no effort to defend himself or “run” his own case. Further, when the Court appointed Gregory M.
Acton as substitute counsel on March 11, 2020, the Court did not limit the scope of his representation. (Docs. 40, 41.)

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       At a status conference on April 3, 2019 at which Defendant was present, Mr. Loonam said

that Defendant had had a substantive conversation with Mr. Loonam after he was indicted but

refused to speak to Mr. Loonam the day before or the day of the conference. (Doc. 57 at 3.)

However, after speaking with Defendant off the record during the conference, Mr. Loonam stated

that Defendant was “okay with me addressing the Court as his attorney” and had no objection to

the Court ordering a competency evaluation at a federal Bureau of Prisons medical facility. (Id. at

8.) Shortly afterward, the Court ordered the competency evaluation to which Defendant had agreed

at the conference. (Doc. 15.)

       In her Competency Evaluation Report, filed November 8, 2019, Dr. Miriam Kissin noted

Defendant’s report that he was an average student, had difficulty reading in high school, and had

worked as a caregiver and lawn care provider. (Doc. 18 at 3-4.) Dr. Kissin assessed Defendant’s

cognitive abilities to be at least average. (Id. at 6.) She diagnosed him with antisocial personality

disorder and substance use disorders. (Id. at 7.)

       According to Dr. Kissin, Defendant acknowledged that the charges against him are serious,

constitute felonies, and could lead to incarceration if he is convicted. (Id.) Dr. Kissin quoted

Defendant as saying, “the judge is making me be [Mr. Loonam’s] client.” (Id. at 8.) She further

noted Defendant’s statements that he “would prefer another attorney” because he disagreed with

Mr. Loonam’s assessment of the case; he could “talk . . . better” with a female attorney; and, he

wanted to see if his mother would get him a private attorney. (Id. at 9-10.)

       On February 19, 2020, Mr. Loonam filed a Motion to Determine Counsel based on

Defendant’s persistent refusal to communicate with him. (Doc. 33 at 1-2.) At a March 4, 2020

hearing on the motion, Defendant told the Court that, “from the beginning,” he had “been trying

to ask for a different attorney.” (Doc. 60 at 3.) He also stated that he and his mother were planning



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to get him “a lawyer-lawyer.” (Id. at 5.) The Court told Defendant that, if he was able to hire a

lawyer, that lawyer could represent him.2 (Id.) Meanwhile, the Court explained, it was going to

appoint a new lawyer to represent him pursuant to his request, but it would only do so once. (Id.

at 5-6.) On March 11, 2020, the Court allowed Mr. Loonam to withdraw as Defendant’s counsel

and appointed Mr. Acton in his stead. (Docs. 39-41.)

           On April 1, 2020, Mr. Acton filed an Unopposed Motion for Status Conference and for

Faretta Hearing on Defendant’s behalf. (Doc. 45.) In the motion, Mr. Acton asked the Court “to

convene a status conference and potentially a Faretta hearing to determine whether [Defendant]

is, in fact, waiving his right to counsel and if so, whether he is making such waiver knowingly and

intelligently.” (Id. at 1.) In support of this request, Mr. Acton explained that, shortly after his

appointment as Defendant’s counsel, he made an appointment to meet with Defendant at the Cibola

County Detention Center; however, at the time of the appointment, Defendant refused to see him.

(Id.) Mr. Acton then made an appointment for a telephone call with Defendant, but at the time of

the appointment Defendant refused to speak to him. (Id. at 1-2.)

           At a status conference on May 6, 2020, Mr. Acton informed the Court that Defendant

continued to refuse to have any substantive conversations with him. (Doc. 48.)

           At another status conference on June 22, 2020, Defendant was present but refused to

respond to or acknowledge the Court when it addressed him. (Doc. 53.)

           On July 14, 2020, the Court held a Faretta hearing on the record via videoconference, at

which Defendant was present.3 (Doc. 65 at 1, 3.) At the hearing, Mr. Acton stated that, after the




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    To date, there is nothing in the record indicating that Defendant has hired a private attorney to represent him.
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 In holding two status conferences on May 6, 2020 (Doc. 48) and June 22, 2020 (Doc. 53) and a Faretta hearing on
July 14, 2020 (Doc. 65), the Court has granted all of the relief requested in Defendant’s Unopposed Motion for Status
Conference and for Faretta Hearing, filed April 1, 2020. (Doc. 45 at 1, 3-4.)

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June 22, 2020 status conference, he again tried to meet with Defendant at the detention facility,

but Defendant declined to see him, stating, “He’s not my attorney.” (Id. at 4-5.)

        The Court informed Defendant that it was holding the hearing because “some of the things

that [he had] said and done during this case suggest[ed] that [he] may want to waive [his] right to

have an attorney represent [him] in this case and, instead, choose to represent [himself].” (Id. at

5.) The Court advised Defendant of what it would consider in deciding whether he was waiving

his right to counsel and asserting his right to represent himself, and, if so, whether he was doing

so in a constitutionally effective way. (Id. at 6-10.) In light of Defendant’s prior history of refusing

to communicate with counsel and the Court, the Court specifically told Defendant how it would

interpret his silence if he refused to answer the Court’s questions. (Id.)

        The Court advised Defendant at some length of his rights, the nature of the charges against

him, the range of punishments he faces if convicted, the existence of possible defenses and

mitigating circumstances, his obligation to abide by the rules of evidence, procedure, and

courtroom decorum, and the risks, disadvantages, and dangers of self-representation. (Id. at 11-

26.) The Court repeatedly asked Defendant if he understood what the Court was telling him. (Id.)

The Court also asked Defendant whether he wanted Mr. Acton to represent him. (Id. at 25.) And

finally, the Court asked Defendant directly, “do you want to give up your right to be represented

by an attorney and represent yourself instead?” (Id. at 25-26.) However, Defendant “steadfastly

refused to respond, in any way, to any of the Court’s questions” and “absolutely refused to

communicate with the Court,” though the Court gave him ample time to do so and had “no doubt”

that he could hear everything that was said. (Id. at 26-27.)

        After explaining why “[i]t’s a very bad idea not to talk to your attorney” and urging

Defendant to communicate with Mr. Acton, the Court ruled that it would not remove Mr. Acton



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as Defendant’s counsel and would not find that Defendant had waived his right to counsel, because

he had not clearly and unequivocally indicated that he wanted to represent himself. (Id. at 24-25,

29-31.) The Court added that if Defendant wanted to “communicate to the Court [his] preference

to represent [himself]” after thinking about what he had been told at the hearing, he could send the

Court a letter or tell Mr. Acton so that Mr. Acton could ask for another hearing.4 (Id. at 31.)

         Defendant’s jury trial is currently set for December 7, 2020. (Doc. 67.)

                                              II. Legal Standards

         A criminal defendant has a Sixth Amendment right to be represented by an attorney at

every stage of the proceedings against him, and, if he cannot afford one, he has the right to have

one appointed for him free of charge. Gideon v. Wainwright, 372 U.S. 335, 339-40 (1963). A

defendant has the right to receive reasonably effective assistance from his attorney. Strickland v.

Washington, 466 U.S. 668, 686-88 (1984).

         Alternatively, a defendant has a right under the Sixth Amendment to choose to represent

himself. Faretta, 422 U.S. at 819. However, for a court to find that a defendant has effectively

waived his right to counsel and invoked his right to proceed pro se, certain conditions must be met.

First, the defendant must be competent to stand trial. Maynard v. Boone, 468 F.3d 665, 676 (10th

2006).5 Second, the defendant must make a clear and unequivocal request to represent himself.

United States v. Simpson, 845 F.3d 1039, 1046 (10th Cir. 2017). Third, the request must be timely,

id., and fourth, it must be voluntary. United States v. Hamett, 961 F.3d 1249, 1255 (10th Cir.



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  To date, the Court has received no letter from Defendant, and Mr. Acton has not requested another Faretta hearing
on Defendant’s behalf.

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  Cf. United States v. DeShazer, 554 F.3d 1281, 1290 (10th Cir. 2009) (“[T]he district court was not compelled to find
Mr. DeShazer competent to waive his right to counsel simply because the court had found him competent to stand
trial”; however, “a court may constitutionally permit a defendant to represent himself so long as he is competent to
stand trial.”).


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2020); United States v. Hansen, 929 F.3d 1238, 1249 (10th Cir. 2019); United States v. Williamson,

859 F.3d 843, 862 (10th Cir. 2017). Finally, to be effective, a request to waive the right to counsel

and proceed pro se must be “knowing and intelligent” at the time it is made. Hamett, 961 F.3d at

1255, 1262; Hansen, 929 F.3d at 1249.           In evaluating whether a request satisfies these

requirements, courts must “indulge in every reasonable presumption against waiver” of the right

to counsel. Hamett, 961 F.3d at 1255; Simpson, 845 F.3d at 1046.

         To determine whether a defendant has waived his right to counsel and asserted his right

to represent himself in a constitutionally effective way, courts usually hold a comprehensive,

formal inquiry known as a “Faretta hearing.” Hamett, 961 F.3d at 1255. At a Faretta hearing,

the court’s examination of the defendant must be “penetrating and comprehensive,” and the court

“must investigate as long and as thoroughly as the circumstances of the case before [it] demand.”

Von Moltke v. Gillies, 332 U.S. 708, 723–24 (1948). In deciding whether to grant a request for

self-representation, courts should also consider the defendant’s age, education, and past

experiences with the legal system, the complexity of the charges against him, and the stage of the

proceedings. Iowa v. Tovar, 541 U.S. 77, 88 (2004); Hansen, 929 F.3d at 1251; Williamson, 859

F.3d at 862.

                                           III. Analysis

       As discussed below, the Court has considered all of the foregoing requirements in light of

the Faretta hearing held on July 14, 2020 in finding that Defendant does not want to waive his

right to counsel and invoke the right to represent himself and has not done so in a constitutionally

effective manner.

A.     Defendant is competent to stand trial.




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       To effectively waive the right to counsel and assert the right to represent himself, a

defendant must first be competent to stand trial. Maynard, 468 F.3d at 676. Here, the Court found

Defendant to be competent to stand trial on December 9, 2019, (Doc. 24), and Defendant was

advised of that finding at his Faretta hearing. (Doc. 65 at 7.)

B.     Defendant has not made a clear and unequivocal request to represent himself.

       Next, to be effective, a request to waive one’s right to counsel and proceed pro se must be

clear and unequivocal. Simpson, 845 F.3d at 1046. The requirement of a “clear and unequivocal

expression of a request for self-representation . . . protect[s] not only the defendant but also the

trial court.” Id. at 1046–47 (quotation marks omitted). “Defendants are protected against

inadvertently waiving counsel through their occasional musings on the benefits of self-

representation.” United States v. Burton, 698 F. App’x 959, 962 (10th Cir. 2017) (quotation marks

and alteration omitted). And, trial courts “are protected against defendants’ attempts to manipulate

the rights to counsel and self-representation.” Id.

       As the Simpson court explained,

       [w]ithout a clear and unequivocal request, the court would face a dilemma, for an
       equivocal demand creates a potential ground for reversal however the trial court
       rules. If the court determines that the defendant wants to proceed pro se, the
       defendant can assert a violation of the right to counsel; if the court provides counsel,
       the defendant can assert a violation of the right to proceed pro se. By requiring the
       self-representation request to be clear and unequivocal, we prevent the trial court
       from having to guess at the defendant’s intent.

845 F.3d at 1047 (citations omitted).

       Notably,

       [t]he refusal to communicate with counsel does not necessarily imply a desire to
       represent oneself. It may result from a desire for different counsel; or it may reflect
       a decision not to participate in the proceedings, letting counsel do what he feels he
       must but not deigning to acknowledge the legitimacy of what is going on.




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United States v. Loya-Rodriguez, 672 F.3d 849, 857 (10th Cir. 2012). The refusal to communicate

with counsel is a particularly doubtful signal of a desire to proceed pro se where the defendant also

refuses to communicate with the court, because “self-representation . . . would entail

communicating with the court and with government counsel.” Id. at 857–58.

       Moreover, even when a defendant appears to affirmatively request self-representation, his

“other statements or actions may render the request[] unclear or ambiguous.” Simpson, 845 F.3d

at 1048. Thus, the Tenth Circuit has found no clear and unequivocal request for self-representation

where the defendant took “vacillating positions which continued until just six days before the case

was set for trial,” United States v. Bennett, 539 F.2d 45, 51 (10th Cir. 1976), where the defendant

wanted to represent himself only if certain conditions were met, Stallings v. Franco, 576 F. App’x

820, 823 (10th Cir. 2014), and where the defendant’s request “simultaneously appear[ed] to

request self-representation but add[ed] a qualification that confuse[d] what the defendant

want[ed].” Simpson, 845 F.3d at 1048–49 (citing United States v. Callwood, 66 F.3d 1110, 1114

(10th Cir. 1995)).

       A defendant’s refusal to clarify a potential ambiguity can also support a finding that a

request for self-representation is not clear and unequivocal. In Loya-Rodriguez, for example, the

defendant wrote a letter to the trial court in which he stated, “I want to communicate, if I can,

personally and verbally, during the following hearings, with the Court, and in front of the Judge. I

want to communicate without the help of an attorney.” 672 F.3d at 858. The Tenth Circuit

observed that the letter could fairly be read more than one way and said “nothing about

communicating with the jury, nor does it explicitly request permission to appear pro se at trial.”

Id. The appellate court further noted that, at the next hearing after it received the letter, the trial

court “gave [the d]efendant an opportunity to speak (and clarify his wishes)” but the defendant



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“did not respond.” Id. “[G]iven [the d]efendant’s silence in that context,” the Loya-Rodriguez

court held, the trial court was entitled to find that the defendant’s letter had not clearly and

unequivocally invoked his right of self-representation. Id. at 858-59.

       Here, prior to his Faretta hearing, Defendant sometimes seemed to want to waive his right

to counsel and represent himself. (See, e.g., Doc. 54 at 4 (at initial appearance, Defendant indicated

that he intended to refuse appointment of counsel); Doc. 56 at 2 (at preliminary hearing, Mr.

Loonam reported that Defendant said he did not sign up for representation); Doc. 33 at 2 and Doc.

57 at 3 (Defendant refused to talk to Mr. Loonam); Doc. 45 at 1-2, Doc. 48, and Doc. 65 at 4-5

(Defendant refused to talk to Mr. Acton).) At other times, however, he appeared to want to be

represented by an attorney. (See, e.g., Doc. 57 at 3 (Defendant had a substantive conversation with

Mr. Loonam after indictment); id. at 8 (Defendant permitted Mr. Loonam to address the Court “as

his attorney”); Doc. 18 at 9-10 (Defendant told evaluator he “would prefer another attorney”);

Doc. 60 at 3 (Defendant told the Court he had been trying from the beginning to get a new

attorney).)

       In this regard, importantly, Defendant’s only affirmative statements that could fairly be

interpreted as a request to procced pro se were made at the very beginning of the case, before the

Court first advised him of the risks, dangers, and disadvantages of self-representation. (See

generally Docs. 54, 56.) After that time, when he spoke on the subject at all, he spoke in terms of

wanting a different attorney, not proceeding without one. True, after that time, he generally

refused to communicate with his court-appointed attorneys; however, as noted above, “[t]he

refusal to communicate with counsel does not necessarily imply a desire to represent oneself.”

Loya-Rodriguez, 672 F.3d at 857. Thus, at the very least, Defendant’s “vacillating positions”

before his Faretta hearing made it unclear whether he wished to proceed without counsel; more



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plausibly, they suggested that if he ever had wished to proceed pro se, the wish did not survive the

Court’s early warnings about the dangers and disadvantages of self-representation. Bennett, 539

F.2d at 51.

       Nevertheless, in light of the ambiguity his inconsistent positions had created, the Court

held a Faretta hearing at which it asked Defendant directly whether he wanted to waive his right

to counsel and represent himself in these proceedings. (Doc. 65 at 25-26.) Defendant refused to

respond to the question. (Id.) Defendant’s refusal to respond is particularly telling for at least

three reasons.   First, as the Loya-Rodriguez court noted, self-representation would entail

substantial communication with the prosecutor and the court. 672 F.3d at 857-58. Here, however,

Defendant demonstrated an unwillingness to communicate with the Court regarding even the very

basic question of whether he wants to proceed without counsel.

       Second, the Court asked the question only after it had advised Defendant in considerable

detail of his rights and the conditions that must be met for a waiver of counsel and invocation of

the right to represent oneself to be effective. (See generally Doc. 65.) Thus, Defendant’s refusal

to respond to the question was as fully informed as possible under the circumstances.

       Third, before asking the question, the Court specifically advised Defendant:

       [y]our past words and actions have been unclear and inconsistent about whether
       you want to represent yourself. So if you do not answer me when I ask you if you
       want to waive your right to counsel and to represent yourself instead, I will find
       that you do not want to do so.

(Doc. 65 at 7 (emphasis added).) In other words, Defendant knew that the Court would interpret

his refusal to respond to mean that he does not want to waive his right to counsel and represent

himself. The Court therefore finds it eminently reasonable to rely on “Defendant’s silence in that

context,” Loya-Rodriguez, 672 F.3d at 858, and to conclude that Defendant does not in fact want

to proceed pro se. For all of the above reasons, the Court finds that Defendant does not want to


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waive his right to counsel and represent himself in these proceedings and has not made a clear and

unequivocal request to do so.

C.     Because Defendant has not made a clear and unequivocal request to represent
       himself, the Court need not determine the timeliness of any such request.

       To be constitutionally effective, a request to waive one’s right to counsel and proceed pro

se must be timely, that is, it must be made before a jury is impaneled and not for purposes of delay.

Simpson, 845 F.3d at 1053; United States v. Tucker, 451 F.3d 1176, 1180-81 (10th Cir. 2006). As

discussed in Section III.B., supra, Defendant has not made a clear and unequivocal request to

waive his right to counsel and represent himself. As such, the Court need not determine whether

any such request would be timely. However, the Court does note its finding, at the Faretta hearing,

that Defendant’s ambiguous words and actions up to this point, including his frequent refusals to

communicate with his counsel and the Court, have been “obstinate and manipulative.” (Doc. 65

at 29.) This finding would likely be relevant if the Court were later called upon to decide whether

a clear request for self-representation is untimely because made “for the purpose of delay.”

Simpson, 845 F.3d at 1046; Tucker, 451 F.3d at 1180-81.

D.     Because Defendant has not made a clear and unequivocal request to represent
       himself, the Court need not determine whether any such request would be voluntary.

       To be constitutionally effective, a request to waive one’s right to counsel and proceed pro

se must also be voluntary. Hamett, 961 F.3d at 1255. “[W]hether a defendant’s waiver of counsel

is voluntary” generally “turns on whether the defendant’s objections to his counsel are such that

he has a right to new counsel.” United States v. Taylor, 113 F.3d 1136, 1140 (10th Cir. 1997)

(citing United States v. Padilla, 819 F.2d 952, 955 (10th Cir. 1987)). “[The] court must be

confident the defendant is not forced to make a ‘choice’ between incompetent counsel or appearing




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pro se.” Id. “However, a refusal without good cause to proceed with able appointed counsel” will

be considered voluntary. Id. (quotation marks omitted).

        Here, because Defendant has not made a clear and unequivocal request to waive his right

to counsel and represent himself, the Court need not determine whether any such request would

be voluntary. However, the Court does find, with confidence, that Defendant is not being forced

to choose between proceeding with incompetent counsel and proceeding pro se. Taylor, 113 F.3d

at 1140. At his Faretta hearing, the Court forewarned Defendant that it would be asking him if he

wanted Mr. Acton to represent him, and if not, why not. (Doc. 65 at 7-8.) The Court further

advised Defendant that, if there was a “good reason” why Mr. Acton should not represent him, he

would have the right to a different court-appointed attorney. (Id.) The Court also informed

Defendant that the record up to that point did not show a good reason why Mr. Acton should not

represent him, so the Court would not be able to find a good reason if Defendant did not answer

its questions. (Id. at 9.)

        Nevertheless, Defendant refused to respond when the Court asked him whether he wanted

Mr. Acton to represent him. (Id. at 25.) Defendant also chose to remain mute when the Court

gave him an opportunity to address “anything with regard to your right to counsel.” (Id. at 26.) In

these circumstances, the Court finds that Defendant does not want new counsel to be appointed,

that there is no good cause why Mr. Acton should not continue to represent Defendant, and that

Defendant is not being forced to make an unconstitutional choice between Mr. Acton and no

counsel at all. See Padilla, 819 F.2d at 955.

E.      Because Defendant has not made a clear and unequivocal request to represent
        himself, the Court need not determine whether any such request would be knowing
        and intelligent.




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       Finally, to be constitutionally effective, a request to waive one’s right to counsel and

represent oneself must be knowing and intelligent at the time it is made. Hamett, 961 F.3d at 1255,

1262. To be knowing and intelligent, a request for self-representation does not necessarily need

to be wise. Hansen, 929 F.3d at 1249; United States v. Turner, 287 F.3d 980, 984 (10th Cir. 2002).

Rather, such a request is knowing and intelligent if the defendant is fully aware of the nature of

his right to counsel and the consequences of giving up that right. Patterson v. Illinois, 487 U.S.

285, 292 (1988). Among other things, the defendant must know and understand: (a) the nature

of the charges against him, including the laws he is charged with violating; (b) the range of

punishments he faces if he is found guilty; (c) the existence of possible defenses to the charges

against him and mitigating circumstances; (d) the risks, dangers, and disadvantages of representing

himself; and, (e) the need for him to personally follow the rules of evidence, procedure, and

courtroom decorum. Von Moltke, 332 U.S. at 723–24; Hamett, 961 F.3d at 1255-56; Hansen, 929

F.3d at 1250, 1257. These are sometimes referred to as the “Von Moltke factors.” Hamett, 961

F.3d at 1255.

       Because Defendant has not made a clear and unequivocal request to waive his right to

counsel and represent himself, the Court need not determine whether any such request would be

considered knowing and intelligent at the time it was made. However, even if Defendant had made

a clear and unequivocal request for self-representation, the record does not establish that Defendant

has ever had sufficient knowledge and understanding of the Von Moltke factors for any such

request to be knowing and intelligent. In fact, the record affirmatively demonstrates that Defendant

does not understand some of these factors.

       At his January 30, 2019 preliminary hearing, Defendant said he does not understand: (a)

the importance of the rules and statutes that apply to his case, (Doc. 56 at 5-6); (b) that, if he



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represents himself, he may make a mistake an attorney would not make, (id. at 9-10); (c) why it

would not be a good idea for someone to think he knows how trials work based on television, (id.

at 8); (d) that an experienced attorney will represent the Government, (id. at 10); and, (e) that, if

he represents himself, he will have to follow the rules about how to behave in the courtroom. (Id.

at 12.) Defendant also said he only “somewhat” understands that: (a) if he represents himself and

is found guilty, he will not be able to claim on appeal that his attorney made a mistake, (id. at 10-

11); (b) the decision to represent himself may be a bad one even if it is knowing and voluntary,

(id. at 11-12); and, (c) if he represents himself but does not follow the rules about how to behave

in the courtroom, the Court could force him to have an attorney. (Id. at 12-13.)

        Nor did Defendant indicate, at his Faretta hearing, that he has since developed a better

understanding of any of these issues. At the Faretta hearing, the Court explained that the record

up to that point did not show that Defendant understood everything he needed to understand to

effectively waive his right to counsel and proceed pro se. (Doc. 65 at 10.) The Court therefore

advised Defendant:

        [i]f you don't answer me when I ask if you understand . . . , I will not find, for
        purposes of this hearing, that you understand . . . , and I will not find that a request
        to represent yourself, if you make one, is knowing and intelligent.

(Id.) Nevertheless, each time the Court asked Defendant if he understood what the Court was

telling him, he refused to respond. (See generally id.) In these circumstances, even if any of

Defendant’s words or actions up to this point could be construed as a request to waive the right to

counsel and proceed pro se, the Court could not find the request to be knowing and intelligent at

the time it was made.6



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  Nor, at this juncture, could the Court properly “do more to ensure that [any] waiver of counsel was knowing and
intelligent.” Hansen, 929 F.3d at 1260. At his Faretta hearing, Defendant made it unmistakably clear that he intended
to refuse to respond to the Court’s questions or otherwise communicate with the Court in any way, no matter what he

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F.     No case-specific factor alters the Court’s conclusion that Defendant has not effectively
       invoked the right to represent himself.

       Finally, the Court’s consideration of Defendant’s age, education, and past experiences with

the legal system, the complexity of the charges against him, and the stage of the proceedings does

not alter its conclusion that Defendant has not effectively waived his right to counsel and asserted

the right to represent himself. Tovar, 541 U.S. at 88; Hansen, 929 F.3d at 1251; Williamson, 859

F.3d at 862. Defendant is thirty-seven years old and has received no education beyond high school,

where he had difficulty reading. (Doc. 1 at 1; Doc. 18 at 2-4; Doc. 56 at 7.) He has never worked

in a legal field or seen a criminal trial. (Doc. 18 at 4; Doc. 56 at 7-8.) While the charges against

him are not inordinately complex, they are serious, felony charges, and he faces an estimated

guideline imprisonment range of 12 years 7 months to 15 years 8 months if convicted at trial.

(Doc. 65 at 16-17.) His jury trial is presently scheduled for December 7, 2020. (Doc. 67.) None

of these case-specific factors support a finding that Defendant has effectively waived his right to

counsel and asserted his right to proceed pro se.

                                          IV. Conclusion

       For all of the foregoing reasons, and as further stated on the record at the Faretta hearing

held on July 14, 2020, the Court FINDS that, at this time, Defendant does not want to waive his

right to counsel and assert the right to represent himself, nor has he done so in a constitutionally

effective way. In particular, Defendant has not made a clear and unequivocal request to waive his

right to counsel and proceed pro se. Also, to the extent any of his words or actions to date could

be construed as a request to waive the right to counsel and proceed pro se, the request was not

knowing and intelligent at the time it was made. The Court further FINDS that Defendant does


was advised or asked or how many opportunities he was given to speak. (See generally Doc. 65.) In these
circumstances, “do[ing] more” would have been pointless at best and coercive at worst.


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not want new counsel to be appointed; there is no good cause why Mr. Acton should not continue

to represent him; and, he is not being forced to make an unconstitutional choice between Mr. Acton

and self-representation. The Court therefore declines to remove Mr. Acton as Defendant’s counsel

at this time.

        IT IS SO ORDERED.




                                     _____________________________________
                                     KIRTAN KHALSA
                                     UNITED STATES MAGISTRATE JUDGE




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